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--a:
z:
c :,                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION
0
           UNITED STATES OF AMERICA

                 V.                                   Criminal Indictme nt

                                                             1 ,asc 1a 1
           BRITT ANY HUDSON AND                       No.
           KAYRICK A WORTHA M
             A/ K/ A KA YRICKA DUPREE
             A/ K / A KAYRICK A YOUNG


        THE GRAND JURY CHARGES THAT:

                                               Countl
                                             (Conspiracy)

           1. Beginnin g on a date unknown , but from at least in or about January 2022,

        and continuin g through in or about June 2022, in the Northern District of

        Georgia and elsewhere , the Defendan t, BRITTANY HUDSON , did knowingl y

        and willfully combine, conspire, confedera te, agree, and have a tacit

        understan ding with Kayricka Wortham a/k/ a Kayricka Dupree a/k/ a Kayricka

        Young and others known and unknown to the Grand Jury to commit wire fraud,

        that is, to knowingl y devise and intend to devise a scheme and artifice to ·

        defraud, and to obtain money and property by means of materiall y false and

        fraudulen t pretenses , represent ations, and promises , and by omission of material

        facts, and for the purpose of executing the scheme, with the intent to defraud, to

        cause the transmiss ion of interstate wire communi cations,-i n violation of Title 18,

        United States, Code, Section 1343.
                                    Backg round

   At all times releva nt to this Indictment:

   2. Defen dant HUDS ON was :in a relatio nship and reside d with Kayricka
                                                                         ON
Worth am a/k/ a Kayricka Dupre e a/k/ a Kayricka Young . Defen dant HUDS
                                                                                   ,
owned a bus:iness, Legen d Expre ss LLC, which contra cted with Amaz on.com

Inc. (" Amaz on") as a Delive ry Service Partne r. Amaz on Delive ry Service

Partne rs are :indep enden t bus:inesses that partne r with Amaz on to deliver

packa ges to custom ers.
                                                                                       an
   3. Kayricka Worth am a/ k/ a Kayricka Dupre e a/k/ a Kayricka Youn g was

Opera tions Mana ger at Amaz on. She worke d at the Amaz on Wareh ouse in

Smyrn a, Georgia. In her positio n, Worth am superv ised others and had the

autho rity to appro ve new vendo rs for Amaz on. She could also appro ve the

paym ent of vendo r :invoices.

   4. Deme trius Hines was a Loss Preve ntion Multi-Site Lead at Amaz on. He
                                                                               a,
worke d at variou s Amaz on sites, includ:ing the Amaz on Wareh ouse :in Smyrn
                                                ..,
Georgia. In his positio n, H:ines was respon sible for preve nting loss and
                                                                                  ns,
protec ting people , produ cts, and inform ation at Amaz on. He led :investigatio

condu cted :interviews, and monit ored securi ty risks.

   5, Amaz on is an Amer ican multin ationa l techno logy comp any whose
                                                                                 and
busine ss :interests includ e e-commerce, cloud compu ting, digita l stream ing,
                                                                                      of
artificial :intelligence. Amaz on engag es in the onl:ine retail sale of a wide range
                                                                               rous
produ cts, :includ:ing books, music , compu ters, and electronics, amon g nume
                                          2
other produc ts, which are directly shippe d to custom ers. Amazo n is one of the

largest techno logy compa nies in the United States.
                                 Manne r and Means

   6. Defend ant HUDS ON and Worth am conspi red to steal more than $9 million

from Amazo n. They created fake vendor s and submit ted more than $10 million

in fictitious invoices for those vendor s, causin g Amazo n to transfe r

approx imately $9.4 million to bank accounts control led by Wortha m, Defend ant

HUDS ON, and co-conspirators.

   7. As part of the scheme , Worth am provid ed fak'e vendo r inform ation to

unkno wing subord inates and asked them to input the inform ation into

Amazo n's vendor system. Once the inform ation was entered , Worth am

approv ed the fake vendor s, thereby enablin g those vendor accoun ts to submit

invoices for payme nt for goods and services purpor tedly provid ed by the

vendor s to Amazo n.

   8. Worth am establi shed the fake vendor accoun ts so that they were associa ted

with bank accoun ts control led by- her, Defend ant HUDS ON, and co-conspirators.

   9. After the fake vendor accoun ts were establi shed, Worth am and Defend ant

HUDS ON submit ted fictitious invoices to Amazo n for payme nt. These invoices

falsely represe nted that the fake vendor s had provid ed goods and services to

Amazo n, when in fact they had not. The invoices directe d payme nt to bank

accoun ts control led by Wortha m, Defend ant HUDS ON, and co-conspirators.


                                           3
   10. After Amaz on receiv ed the fictitious invoices, Worth am and others

appro ved them for payme nt, causin g Amaz on to transf er funds to the bank
                                                                          rs.
accou nts contro lled by Worth am, Defen dant HUDS ON, and co-con spirato

These appro vals and payme nts caused h·ansm ission s of inters tate wire

comm unicat ions.

   11. In furthe rance of the conspiracy, Worth am and Defen dant HUDS ON

recrui ted other indivi duals to act as purpo rted vendo r contac ts for the fake
                                                                           eds
vendo rs entere d into Amaz on's system. Worth am shared fraudu lent proce

with these co-con spirato rs by direct ing paym ents of fictitious invoices to their
      \



                                                                                to
bank accou nts and by transf erring fraudu lent proce eds from her accou nts

theirs .

    12. Consp iring with Worth am, Defen dant HUDS ON submi tted fictitious

invoices on behalf of some of the fake vendo rs and direct ed paym ent to bank
                                                                            ved
accou nts contro lled by her and co-conspirators. Worth am and others appro

the fictitious invoices submi tted by Defen dant HUDS ON.

    13. Worth am also recrui ted Hines and Consp irator 1, who was a Senior
                                                                                    onal
Huma n Resources Assist ant at Amaz on, into the schem e to establ ish additi

fake vendo r accou nts after she began the fraudu lent scheme. Hines and
                                                                                vendo r
Consp irator 1 provid ed inform ation to Worth am to create additi onal fake
                                                                         ger at
accounts. Worth am and Consp irator 2, who was anoth er Opera tions Mana

Amaz on, appro ved these vendo rs for payme nt.


                                           4
    14. Worth am and Hines submi tted fictitious invoices for these fake vendo rs

 for paym ent by Amaz on. Worth am, Consp irator 2, and others appro ved these

 invoices for paym ent, even thoug h in truth the fake vendo rs provid ed no goods

 or services to Amaz on.

    15. Defen dant HUDS ON, Worth am, Hines , Consp irator 1, Consp irator 2, and
                                                                                 nts.
 others receiv ed fraudu lent procee ds gener ated from these fake vendo r accou
                                                                                    ,
' The invoices direct ed paym ent to bank accounts contro lled by the consp irators
                                                                             co-
 and Worth am transf erred fraudu lent procee ds from her accou nts to other

 consp irators ' accounts.

    16. After Worth am left Amaz on:in or about March 2022, she, Defen dant

 HUDS ON, and Hines contin ued to submi t fictitious invoices to Amaz on on

 behalf of the fake vendo rs they created. Consp irator 2 appro ved fictitious
                                                                              e
 invoices after Worth am left Amaz on. The consp irators contin ued to receiv

 fraudu lent procee ds from the schem e until in or about June 2022.

     17. In total, Defen dant HUDS ON, Worth am, and co-con spirato rs submi tted
                                                                                 e.
 more than $10 millio n in fraudu lent invoices to Amaz on as part of this schem

 Worth am and Defen dant HUDS ON receiv ed millions in fraudu lent proce eds

 from the schem e and spent fraudu lent procee ds on thems elves, includ ing
                                                                              ased a
 purch asing expen sive real estate and luxury cars. For examp le, they purch

 nearly $1 millio n home in Smyrn a, Georgia, a 2019 Lamb orghin i Urus, a 2021

 Dodge Duran go, a 2022 Tesla Mode l X, a 2018 Porsch e Panam era, and a

 Kawa saki ZX636 motorcycle, all with fraudu lent procee ds.
                                            5
   All in violat ion of Title 18, United States Code, Section 1349.

                                 Count s 2 throu gh 14
                                    (Wire Fraud)

   18. The Grand Jury re-alleges and in.corporates by refere nce parag raphs 2

throug h 17 of this Indict ment as if fully set forth herein .

   19. Begin ning on a date unkno wn, but from at least in or about Janua ry 2022,
                                                                                 ct of
and contin uing throug h at least in or about June 2022, in the North ern Distri
                                                                            d
Georg ia and elsew here, the Defen dant, BRITTANY HUDS ON, aided and abette

by Kayric ka Worth am a/ k/ a Kayricka Dupre e a/ k/ a Kayric ka Young and
                                                                        intend
others know n and unkno wn to the Grand Jury, did knowi ngly devise and
                                                                             rty by
to devise a schem e and artifice to defrau d, and to obtain mone y and prope

means of mater ially false and fraudu lent preten ses, repres entati ons, and
                                                                                 to
promi ses, and by omiss ion of mater ial facts, well know ing and havin g reason
                                                                              false
know that said preten ses, repres entati ons, and promi ses were and would be
                                                                                 were
and fraudu lent when made and caused to be made and that said omissions

and would be material.

                           Execution of Schem e to Defra ud

   20. On or about each of the dates set forth below , in the North ern District of
                                                                                am
Georg ia and elsew here, Defen dant HUDS ON, aided and abette d by Worth
                                                                           and
and others know n and unkno wn to the Grand Jury, with intent to defrau d,
                                                                                      d
for the purpo se of execu ting the afores aid schem e and artifice to defrau d, cause

the follow ing wire comm unicat ions to be transm itted in inters tate commerce:
                                             6
·COUNT    DATE                  INTERSTATE WIRE COM MUN ICATION
   2     2/8/2 022       Tran sfer :in the amou nt of $27,438.60 from Ama zon to
                         Bank of Ame rica acco unt x3253 held :in the name of
                         Defe ndan t HUD SON
  3      2/15 / 2022     Tran sfer :in the amou nt of $27,438.60 from Ama zon to
                         Bank of Ame rica acco unt x3253 held :in the name of
                         Defe ndan t HUD SON
  4      2/23 / 2022     Tran sfer :in the amou nt of $64,840.72 from Ama zon to
                         Bank of Ame rica acco unt x3253 held :in the name of
                         Defe ndan t HUD SON
  5      2/24 / 2022     Tran sfer :in the amou nt of $115,138.56 from Ama zon
                         to Bank of Ame rica acco unt x3253 held :in the name of
                         Defe ndan t HUD SON
   6     3/29 / 2022     Tran sfer :in the amou nt of $95,584.40 from Ama zon to
                         Bank of Ame rica acco unt x3253 held :in the name of
                         Defe ndan t HUD SON                   '

   7     2/28 / 2022     Tran sfer :in the amou nt of $111,521.04 from Ama zon
                         to Bank of Ame rica acco unt x4026 held :in the name of
                         Defe ndan t HUD SON
   8     3/29 / 2022     Tran sfer :in the amou nt of $76,141.44 from Ama zon to
                         Bank of Ame rica acco unt x4026 held :in the name of
                         Defe ndan t HUD SON
   9     1/31 / 2022     Tran sfer :in the amou nt of $58,014.95 from Ama zon to
                          Wells Farg o acco unt x4436 held :in the name of !Pres s
                          Ink, LLC, and owne d by Defe ndan t HUD SON
  10     3/29 / 2022      Tran sfer :in the amou nt of $80,798.59 from Ama zon to
                          Truis t acco unt x2938 held :in the name of !Pres s Ink,
                          LLC, and owne d by Defe ndan t HUD SON
  11     01/3 1 / 2022    Tran sfer :in the amou nt of $15,121.35 from Ama zon to
                          Wells Farg o acco unt x9310 held :in the name of A.H.
  12     02/0 8/ 2022     Tran sfer :in the amou nt of $116,408.28 from Ama zon
                          to Wells Farg o acco unt x9310 held :in the name of A.H.
   13    02/1 5/ 2022     Tran sfer :in the amou nt of $116,408.28 from Ama zon
                          to Wells Farg o acco unt x9310 held :in the name of A.H.


                                        7
 COU NT   DATE            INTERSTATE WIRE COM MUN ICAT ION
                                                                     on to
   14   03/24 /2022 Trans fer in the amou nt of $97,006.90 from Amaz
                    Wells Fargo accou nt x9310 held in the name of A.H.

                                                                                  n 2.
   All in viola tion of Title 18, Unite d States Code , Section 1343 and Sectio

                                 Counts 15 throu gh 20
                                 (Money Laundering)
                                                                                      2
   21. The Gran d Jury re-alleges and incor porat es by refere nce parag raphs

throu gh 17 of this Indic tmen t as if fully set forth herein.
                                                                               ct of
   22. On or about each of the dates set forth below , in the North ern Distri
                                                                 and abett ed
Georg ia and elsew here, the Defen dant, BRITTANY HUD SON, aided
                                                                             g and
by Kayri cka Wort ham a/k/ a Kayricka Dupr ee a/k/ a Kayri cka Youn
                                                                            in and
other s know n and unkn own to the Gran d Jury, know ingly engag ed
                                                                       in crimi nally
attem pted to engag e in the mone tary transa ction s descr ibed below
                                                                          depos it,
deriv ed prope rty of a value great er than $10,000, consi sting of the
                                                                       foreig n
withd rawal , transfer, and exchange, in and affecting inters tate and
                                                                     a financial
comm erce, of funds and mone tary instru ment s by, throu gh, and to
                                                                            ful activity,
instit ution , such prope rty havin g been deriv ed from speci fied unlaw
                                                                                Code ,
that is, consp iracy and wire fraud , in viola tion of Title 18, Unite d States

Sections 1349 and 1343:


           DATE          TRANSACTION                             AMO UNT      PAYEE
  COU NT
    15   1/31/ 2022 With draw al by electronic                   $69,000.00 U.S. Bank
                    check from Navy Feder al
                    Credi t Unio n accou nt

                                             8
               DATE             TRANSACTION                  AMO UNT       PAYEE
 COU NT
                           x0951 for paym ent on 2018
                           Porsc he Panam era
    16       2/25/ 2022    Wire transf er from Navy          $328,352.17 Law firm
                           Feder al Credi t Unio n                       escro w
                           accou nt x9310 for paym ent                   accou nt
                           on real estate in Smyr na,
                           Georg ia
    17       2/28/ 2022    Wire transf er from Navy          $600,000.00 Law firm
                           Feder al Credi t Unio n                       escro w
                           accou nt x1580 for paym ent                   accou nt
                           on real estate in Smyr na,
                           Georgia
    18        3/7/ 2022    With draw al by cashi er's         $82,990.00 Land mark
                           check from Bank of                            Dodg e
                           Amer ica accou nt x3253 for                   Chry sler
                           paym ent on 2021 Dodg e                       Jeep Ram of
                           Chall enger                                   Atlan ta
     19      4/16/ 2022    With draw al by cashi er's        $295,000.00 Atlan ta
                           check from Wells Fargo                        Auto
                           accou nt x7611 for paym ent
                           on 2022 Tesla Mode l X and
                            2019 Lamb orghi ni Urus
     20      4/18/ 2022     With draw al by cashi er's       $150,000.00 Atlan ta
                            check from Wells Fargo                       Auto
                            accou nt x7611 for paym ent
                            2019 Lamb orghi ni Urus

                                                                                  n 2.
   All in viola tion of Title 18, Unite d States Code , Section 1957 and Sectio

                                         Coun t21
                                       (Conspiracy)
                                                                         raphs 2
   23. The Gran d Jury re-alleges and incor porat es by refere nce parag

throu gh 17 of this Indic tmen t as if fully set forth herein .


                                             9
                                                                                  ry 22,
   24. Begm ning on a date unkn own, but from at least on or abou t Janua
                                                                     North       ern
2023, and conti nuing throu gh on or about Janua ry 27, 2023, in the
                                                                    SON and
Dish·ict of Georg ia and elsew here, the Defen dants , BRITTANY HUD
                                                            Young, did
KAYRICKA WOR THAM a/ k/ a Kayricka Dupr ee a/k/ a Kayri cka
                                                                         have a tacit
know ingly and willfully comb ine, consp ire, confe derate , agree , and
                                                                         ingly
unde rstan ding with each other to comm it wire fraud , that is, to know
                                                                          obtai n
devis e and inten d to devis e a schem e and artifice to defra ud, and to
                                                                          nses,
mone y and prope rty by mean s of mater ially false and fraud ulent prete
                                                                           for the
repre senta tions, and prom ises, and by omiss ion of mater ial facts, and
                                                                           the
purpo se of execu ting the schem e, with the inten t to defra ud, to cause
                                                                              18, Unite d
trans missi on of inters tate wire comm unica tions, in viola tion of Title

States, Code , Section 1343.
                                      Back groun d

   At all times relev ant to this Indictment:
                                                                            any
   25. CRU Franc hising Comp any LLC is a Georg ia limite d liabil ity comp
                                                                       hook ah
that sells franchises and owns a syste m for developing and opera ting

loung es unde r the name s CRU and CRU Hemp Lounge.
                                  Mann er and Mean s
                                                                 make
    26. Defen dants HUD SON and WOR THAM consp ired toget her to
                                                                         CRU franc hise
mater ial misre prese ntatio ns to CRU w ith the inten t of obtai ning a

in the Atlan ta area.


                                            10
                                                           SON and WOR THA M
   27. On or abou t Sept emb er 29, 2022, Defe ndan ts HUD
                                                             frau d, base d on their
were crim inall y char ged with cons pirac y to com mit wire
                                                               in Cou nt 1. On or
sche me to defr aud Ama zon thro ugh the sche me desc ribed
                                                           ded guilt y to cons pirac y
abou t Nov emb er 30, 2022, Defe ndan t WOR THA M plea

to com mit wire frau d as char ged.
                                                                  CRU repr esen tativ es
   28. Defe ndan ts HUD SON and WOR THA M work ed with
                                                           t Janu ary 2023,
to open a hook ah loun ge in the Atla nta area. In or abou
                                                             a franc hise deal with
Defe ndan ts HUD SON and WOR THA M were final izing

CRU to open a hook ah loun ge in Mid town Atlanta.
                                                             on or abou t Janu ary 22, ·
   29. As part of the due diligence for the franc hise deal,
                                                             cial info rmat ion to
2023, Defe ndan t HUD SON ema iled CRU purp orte d finan
                                                             attac hed doct ored bank
supp ort closi ng the deal. Defe ndan t HUD SON ' s ema il
                                                            dule ntly infla ted the
state men ts and pers onal financial state men ts that frau

bala nces in Defe ndan t HUD SON ' s accounts.
                                                                     hise deal, CRU
    30. In com pleti ng its due diligence befo re closi ng the franc
                                                              d crim es that Defe ndan ts
 loca ted onlin e info rmat ion desc ribin g the Ama zon frau
                                                     r revie wing that
 HUD SON and WOR THA M had been char ged with . Afte
                                                                SON and WOR THA M
 infor mati on, CRU sche dule d a call with Defe ndan ts HUD
                                                           also invit ed Dem etriu s
 to discu ss the char ges with CRU repre senta tives . CRU
                                                                pape rwor k.
 Hine s to the call, as he had been on the origi nal franc hise
                                                               ndan   ts HUD SON and
    31. Duri ng the call, on or abou t Janu ary 23, 2023, Defe
                                              \



                                                                 bein g dism issed and
 WOR THA M falsely claim ed that their crim inal cases were
                                        11
                                                            with the inten t
not movi ng forwa rd. Defen dants HUD SON and WOR THAM lied

to defra ud CRU and obtai n a CRU franchise.
                                                                     CRU.         In the
   32. Later that night after the call, Defen dant WOR THAM email ed
                                                                          case. She
email , Defen dant WOR THAM made false claims about her crimi nal
                                                                        ICE OF
also attach ed a fraud ulent court docum ent that inclu ded a fake "NOT
                                                          crimi nal case.
NOLLE PROSEQUI AND DISMISSAL" purpo rting to dismi ss her
                                                                          Judge , the
The fraud ulent court docu ment inclu ded the signa ture of a Feder al
                                                                          a Depu ty
Cour t's stamp , the name of the Clerk of Court , and the signa ture of
                                                                      been issue d
Clerk of the Court. These docum ents were fraud ulent , havin g never

in Defen dant WOR THAM ' s crimi nal case.
                                                                       to         CRU
   33. On or about Janua ry 27, 2023, Defen dant HUD SON sent an email
                                                                        S MOT ION
attach ing a fraud ulent court docum ent entitl ed, "GOV ERNM ENT'
                                                  TANY
and ORDER FOR DISMISSING CASE AS TO DEFENDANT BRIT
                                                                       court
HUD SON, " purpo rting to dismi ss her crimi nal case. The fraud ulent
                                                                              , and the
docu ment inclu ded the signa ture of a Feder al Judge , the Cour t's stamp
                                                                      never been
name of the Clerk of Court . This docum ent was fraud ulent , havin g
                                                                     s email s to
issue d in Defen dant HUD SON' s crimi nal case. Defen dant HUD SON'

CRU cause d inters tate wire transmissions.

   All in viola tion of Title 18, Unite d States Code , Section 1349.




                                           12
                                  Coun ts 22 and 23
                                    (Wire Fraud)
                                                                   parag   raph s 2
   34. The Gran d Jury re-alleges and incor porat es by refer ence
                                                                    forth herein.
throu gh 17 and 25 throu gh 33 of this Indic tmen t as if fully set
                                                                   t     Janu ary 22,
   35. Begi nning on a date unkn own, but from at least on or abou
                                                                  in the Nort hern
2023, and conti nuin g throu gh on or abou t Janu ary 27, 2023,
                                                              Y HUD SON and
District of Geor gia and elsew here, the Defe ndan ts, BRITTAN
                                                       icka              Young, in the
KAYRICKA WOR THA M a/k/ a Kayricka Dupr ee a/k/ a Kayr
                                                                devis e and inten d to
Nort hern District of Georgia and elsewhere, did know ingly
                                                                  and prop erty by
devis e a schem e and artifice to defra ud, and to obtai n mon ey
                                                                    tions , and
mean s of mate rially false and fraud ulent prete nses, repre senta
                                                                   havi ng reaso n to
prom ises, and by omis sion of mate rial facts, well know ing and
                                                                  and woul d be false
know that said prete nses, repre senta tions , and prom ises were
                                                                   said omissions were
and fraud ulent when made and caus ed to be made and that

and wou ld be material.
                           Exec ution of Scheme to Defr aud
                                                                     hern   District of
    36. On or abou t each of the dates set forth below , in the Nort
                                                                     M, aided and
Geor gia and elsew here, Defe ndan ts HUD SON and WOR THA
                                                                    ose of exec uting
abett ed by each other , with inten t to defra ud, and for the purp
                                                                   wing wire
the afore said schem e and artifice to defra ud, caus ed the follo

comm unica tions to be trans mitte d in inter state commerce:


                                            13
    COU NT          DATE             INTERSTATE WIRE COM MUN ICA TIO N
      22          1/ 22/ 2023    Ema il from Defe ndan t HUD SON to CRU
                                 repre senta tive A.S. attac hing frau dule nt finan cial
                                 docu men ts
        23        1/ 27/ 2023    Ema il from Defe ndan t HUD SON to CRU ·
                                 repre senta tive D.M. attac hing frau dule nt cour t
                                 docu men t
                                                                  1343 and Section 2.
   All in viola tion of Title 18, Unit ed States Code , Section

                                     Cou nt24
                                                                    t)
             (Forgery of Signature of Federal Judge and Seal of Cour
                                                              ence      para grap hs 2
   37. The Gran d Jury re-alleges and inco rpor ates by refer
                                                                   set forth here in.
thro ugh 17 and 25 thro ugh 33 of this Indi ctme nt as if fully
                                                            rict of Georgia, the
  38. On or abou t Janu ary 23, 2023, in the Nort hern Dist
                                                        Dup ree a/ k/ a Kayr icka
Defe ndan t, KAYRICKA WOR THA M a/ k/ a Kayricka
                                                             er of a Cou rt of the Unit ed
 You ng, forg ed the sign ature of a Judg e and othe r offic
                                                             the Unit ed States, and
 States, forg ed and coun terfe ited the seal of a Cou rt of
                                                             it sign ature and seal, for the
,kno wing ly conc urre d in usin g a forg ed and coun terfe
                                                           t, know ing such
purp ose of auth entic ating any proc eedi ng and docu men

sign ature and seal to be false and counterfeit.
                                                                   505 and Section 2.
    All in viola tion of Title 18, Unit ed States Code , Section

                                      Cou nt25
                                                                           t)
           (Forgery of Signature of Federal Judge and Seal of Cour
                                                                ence para grap hs 2
   39. The Gran d Jury re-alleges and inco rpor ates by refer
                                                                set forth herein.
thro ugh 17 and 25 thro ugh 33 of this Indi ctme nt as if fully



                                             14
   40. On or about Januar y 27, 2023, in the Northe rn District of Georgia, the

Defend ant, BRITTANY HUDS ON, forged the signatu re of a Judge and other

officer of a Court of the United States, forged and counte rfeited the seal of a

Court of the United States, and knowin gly concur red in using a forged and

counte rfeit signatu re and seal, for the purpos e of authen ticatin g any procee ding

and docum ent, knowin g such signatu re and seal to be false and counterfeit.
   All in violati on of Title 18, United States Code, Section 505 and Section 2.

                                 Forfeiture Provis ion

   41. Upon convic tion of one or more of the offenses alleged in Counts 1

throug h 14 of this Indictm ent, the Defend ant, BRITTANY HUDS ON, shall forfeit

to the United States of America, pursua nt to Title 18, United States Code, Section

982(a)(2), any proper ty constit uting, or derived from, procee ds obtaine d directl y

or indirec tly, as a result of said violations, includi ng, but not limited to, the

following:

       MONEY JUDGMENT: A sum of money in United States currenc y,

       represe nting the amoun t of procee ds obtaine d as a result of the offenses

       alleged in Counts 1 throug h 14 of the Indictm ent.

   42. Upon convic tion of one or more offenses alleged in Counts 15 throug h 20

of this Indictm ent, the Defend ant, BRITTANY HUDS ON, shall forfeit to the

United States of America, pursua nt to Title 18, United States Code, Section

982(a)(l), any proper ty, real or person al, involv ed in such offense, or any

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propert y traceable to such prope_rty. The forfeited propert y includes but is not

limited to, the following:

      MONEY JUDGMENT: A sum of money in United States currency ,

      represen ting the amount of proceed s obtained as a result of the offenses

      alleged in Counts 15 through 20 of the Indictm ent.

   43. Upon convicti on of one or more of the offenses alleged in Counts 21

through 23 of this Indictm ent, the Defenda nts, BRITT ANY HUDSO N and

KAYRICKA WORTH AM a/ k/ a Kayricka Dupree a/k/ a Kayrick a Young, shall

forfeit to the United States of America, pursuan t to Title 181 United States Code,

Section 982(a)(2), any propert y constitu ting, or derived from, proceed s obtaine d

directly or indirectly, as a result of said violations, includin g, but not limited to,

the following:

       MONEY JUDGMENT: A sum of money in United States currency ,

       represen ting the amount of proceed s obtaine d as a result of the offenses

       alleged in Counts 21 through 23 of the Indictm ent.

   44. If, as a result of any act or omissio n of a Defenda nt, any propert y subject

to forfeiture:

          a. cannot be located upon the exercise of due diligence;

          b. has been transfer red or sold to, or deposite d with, a third party;

          c. has been placed beyond the jurisdic tion of the Court;

          d. has been substan tially diminis hed in value; or


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          e. has been comm ingled with other property which canno t be divide d .

             witho ut difficulty;

the Unite d States of Ameri ca intend s, pursu ant to Title 21, Unite d States Code,
                                                                                 )
Section 853(p), as incorp orated by Title 28, Unite d States Code, Section 2461(c
                                                                                other
and Title 18, United States Code, Section 982(b)(l), to seek forfeit ure of any

prope rty of the Defen dant up to the value of the forfeitable prope rty.




                                           A                                     BILL




 RYAN K. BUCH ANAN

- 7)1)1).nuy
 STEPH EN H. MCCL AIN
  Assist ant United States Attorn ey
 Geor ·c Bar No. 113186


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